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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
STORMY BLANKINSHIP, ) CASE NO. 2:17-cv-00777-MHW-
CMV
Plaintiff, JUDGE WATSON
VS. ANSWER OF DEFENDANT TO

COMPLAINT; JURY DEMAND
ENDORSED HEREON
SEQUEL YOUTH AND FAMILY
SERVICES,

Nee ee Nee Nee Nee Nee ee Nee” ee “eee”

Defendant.

Now comes Defendant Sequel Pomegranate Health Systems, LLC d/b/a Sequel Youth
and Family Services (“Company” or “Defendant”), by and through its undersigned counsel, and
for its Answer to Plaintiff Stormy Blankinship’s (“Plaintiff”) Complaint states as follows:

1, In answer to Paragraph 1 of the Complaint, Defendant admits the allegations
contained therein.

Z. In answer to Paragraph 2 of the Complaint, the Defendant states that the
Plaintiff's former employer, and proper Defendant, is Sequel Pomegranate Health Systems, LLC
d/b/a Sequel Youth and Family Services. Sequel Pomegranate, LLC is not an Alabama
Corporation, and therefore the Defendant denies the allegations in Paragraph 2 of the Complaint.

ah. In answer to Paragraph 3 of the Complaint, Defendant admits the allegations

contained therein were alleged to have occurred in Franklin County, Ohio.

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4. In answer to Paragraph 4 of the Complaint, Defendant admits that Plaintiff was
hired on April 11, 2016 by the Company and served as a licensed practical nurse until her
employment ended on March 2, 2017.

S. In answer to Paragraph 5 of the Complaint, Defendant denies the allegations
contained therein.

6. In answer to Paragraph 6 of the Complaint, Defendant denies that it engaged in
any illegal acts as alleged, but admits that the events relating to this matter occurred in Franklin
County Ohio. Defendant denies that venue is proper in the Southern District of Ohio.

7 In answer to Paragraph 7 of the Complaint, incorporates its answers to Paragraphs
1 through 6 as if fully rewritten herein.

8. In answer to Paragraph 8 of the Complaint, Defendant states that the allegations
set forth therein call for a legal conclusion that does not require a responsive pleading.

9. In answer to Paragraph 9 of the Complaint, Defendant denies the allegations set
forth therein.

10. In answer to Paragraph 10 of the Complaint, Defendant denies the allegations set
forth therein.

11. _In answer to Paragraph 11 of the Complaint, Defendant denies the allegations set

forth therein.

V2. In answer to Paragraph 12 of the Complaint, Defendant denies the allegations set
forth therein.
13. ‘In answer to Paragraph 13 of the Complaint, Defendant denies the allegations

contained therein.

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14. In answer to Paragraph 14 of the Complaint, Defendant incorporates the answers
to Paragraphs 1 through 13 as if fully rewritten herein.

15. In answer to Paragraph 15 of the Complaint, Defendant denies the allegations
contained herein.

16. In answer to Paragraph 16 of the Complaint, Defendant denies the allegations
contained therein.

17. In answer to Paragraph 17 of the Complaint, Defendant denies the allegations
contained therein.

18. In answer to Paragraph 18 of the Complaint, Defendant denies the allegations
contained therein.

19. In answer to the Wherefore Clause of the Complaint, Defendant states that the
Plaintiff is not entitled to the relief requested therein, or any other relief whatsoever.

20. Defendant denies any allegations set forth in the Complaint not expressly
admitted herein as true.

AFFIRMATIVE OR SPECIAL DEFENSES

1. Plaintiff's Complaint fails to state a claim against Defendant upon which relief
can be granted.

or This Court lacks subject matter jurisdiction, and/or there is no case or controversy
between the named parties that is ripe for the Court’s adjudication or resolution.

al. This Court lacks personal jurisdiction over the Defendant.

4. The Plaintiff has sued the improper Defendant, and the named Defendant was not

the Plaintiff's employer.

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=. Plaintiff lacks standing to bring some or all of the claims asserted in the
Complaint, or the Plaintiff is not the real party in interest.
6. Any actions taken by Defendant with respect to Plaintiff were for legitimate, non-

discriminatory and non-retaliatory reasons and, therefore, Defendant is relieved from any

liability to Plaintiff.

7. Plaintiff's claims may be barred and/or limited by the after-acquired evidence
doctrine.

8. Plaintiffs claims are barred by the doctrines of laches, estoppel, consent, waiver

and/or unclean hands.

9, Plaintiff’s claims for relief are barred and/or limited to the extent that she has
failed to act reasonably to mitigate the damages she allegedly sustained.

10. Any damages recovered by Plaintiff must be offset by any compensation she has
received or could have received with reasonable diligence for the period for which she is seeking
damages.

11. Defendant denies Plaintiff was subjected to any unlawful discriminatory,
harassing and/or retaliatory employment practice or adverse action, but states that if such a
practice or action is found, the same employment decision(s) regarding Plaintiff would have been
made in the absence of any impermissible motivating factor(s).

12.‘ Plaintiff unreasonably failed to take advantage of preventive or corrective
opportunities, or to avoid harm otherwise.

13. Defendant had in place, at all times, an effective policy prohibiting any type of

unlawful discrimination, harassment and/or retaliation in the workplace and exercised reasonable

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care to prevent and correct promptly any unlawful discriminatory, harassing and/or retaliatory
behavior.

14. Plaintiffs claims are barred because the conduct complained of is not sufficiently
severe or pervasive to alter the terms or conditions of employment, and would not be considered
hostile or offensive by a reasonable person.

15. Plaintiff's claims are barred because Plaintiff suffered no tangible job detriment
or otherwise adverse employment action.

16. Plaintiffs claims are barred to the extent she did not engage in legally protected
activity.

17. Plaintiff is not entitled to recover punitive damages because these damages are not
available remedies for some or all of the claims in the Complaint and/or Defendant’s alleged
actions were not willful, malicious, and without justification.

18. | Defendant may not be held liable for any alleged injuries or damages resulting
from Plaintiff's preexisting emotional, psychological, or physical conditions not the result of any
act or omission of Defendants.

19. | Any damages recovered by Plaintiff must be offset and/or reduced by benefits she
has received from any collateral source, pursuant to R.C. §2315.20.

20.‘ Plaintiff’s claims for alleged non-economic damages are limited under R.C. §
2315.18.

21.  Plaintiff’s claims for alleged punitive damages are limited under R.C. §2315.21,

and Ohio Tort Reform.

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22.  Plaintiff’s claims for alleged punitive damages must be bifurcated in accordance
with R.C. §2315.21.

23. The claims in the Complaint for alleged punitive damages are barred and/or
limited by the due process and equal protection clauses of the U.S. Constitution and by
analogous provisions of the Ohio Constitution. To the extent Plaintiff's Complaint seeks to
make Defendant liable for punitive damages, Defendant adopts by reference whatever defenses,
criteria, limitations and standards are mandated by the U.S. Supreme Court’s decision in BMW
North Am., Inc. v. Gore, 116 S.Ct. 1589 (1996) and its progeny.

24. The claims in the Complaint are barred or limited by Defendant’s good-faith
efforts to comply with applicable employment laws and regulations.

25. Plaintiff has failed to exhaust her internal and administrative remedies.

26. Plaintiff's claims are barred as she abandoned her job, resigned her employment,
and/or relinquished her employment.

of. Some or all of Plaintiff's claims are barred by the applicable statute of limitations.

28. The Plaintiff has failed to join all necessary and indispensable parties.

29. The Plaintiffs claims are barred by res judicata, collateral estoppel, claim
preclusion, and/or issue preclusion.

30. Defendant may not be held liable for any alleged injuries or damages resulting
from Plaintiff's pre-existing emotional, psychological, or physical conditions not the result of
any act or omission of the Defendant.

31. Plaintiff's public policy claim is barred by the availability of relief under other

statutory provisions, and under R.C, 3721.24.

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32. Plaintiff's remedies and damages, even under a public policy claim, are limited by
the remedies enumerated in R.C. 3721.24; the Plaintiff is not entitled to punitive damages.

33. Plaintiff's public policy claim is barred because the Plaintiff cannot identify a
clear federal, state, or local public policy that is applicable.

34.  Plaintiff’s claim is not well-grounded in fact, or warranted by existing law.

35. Defendant reserve the right to raise additional affirmative or special defenses
based upon information learned through informal and formal discovery.

WHEREFORE, having fully answered the Complaint of Plaintiff, Defendant respectfully
demands that the Complaint be dismissed in its entirety with prejudice as to future action; that
Plaintiff be denied any and all relief demanded therein; that Defendant be awarded its reasonable
costs, expenses and attorneys’ fees incurred in defending this action; and that Defendant receive

any and other further relief to which it is entitled.

Respectfully submitted,
FISHER & PHILLIPS LLP

/s/ Curtis G. Moore

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JURY DEMAND

The Defendant respectfully demands a jury trial by the maximum number of jurors

permitted by law, and for all issues so triable.

Respectfully submitted,
FISHER & PHILLIPS LLP

/s/ Curtis G. Moore

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Counsel for Defendant,
Sequel Youth and Family Services

CERTIFICATE OF SERVICE

I hereby certify that on November 13, 2017, a copy of the foregoing Answer of Defendant

Sequel Youth and Family Services was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Court’s system.

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/s/ Curtis G. Moore
Curtis G. Moore (0091209)
